                               Case:24-16853-TBM Doc#:25 Filed:11/27/24 Entered:11/27/24 15:32:39 Page1 of 2
                                                              Single Line
Listing ID   St SType   List Agent Full Name Address                          City                   Price   Bd   Bth   Days In MLS
8041749      A SFR      Lina Krylov          1494 Ebony Drive                 Castle Rock        $649,900    5     4              1
2124358      A SFR      Lina Krylov          6059 S Quemoy Way                Aurora             $585,000    3     2              6
6457883      A SFR      Destinee Coons       17847 E 95th Avenue              Commerce City      $560,000    3     3             14
4341936      A CON      Mitch Helfer         7665 E Eastman Avenue Unit# 106ADenver              $220,000    1     1             21
6894639      A TWH      Jim Loveridge        4505 S Yosemite Street Unit# 102 Denver           $1,150,000    5     3             20
1520249      A SFR      Tanya Lopez-Portillo 1219 E 7th Street                Pueblo              $75,000    1     1             22
2086077      A CON      Jeff Lovato          445 Wright Street Unit# 111      Lakewood           $310,000    2     1             19
5085998      A CON      Kathryn Joyce Bartic 40 S Boulder Circle Unit# 4014   Boulder            $335,000    1     1             25
4300216      A TWH      Jim Loveridge        1244 S Uvalda Street             Aurora             $258,000    2     1             39
5580706      A CON      Trevor Okamoto       1192 S Zeno Way Unit# F          Aurora             $308,500    2     3             34
8289425      A SFR      Kathryn Joyce Bartic 19923 E Long Avenue              Centennial       $1,649,000    8     7             33
4051490      A CON      Chuck Buckingham 12574 W 1st Place                    Lakewood           $545,000    4     4             19
6812690      A SFR      Jamik Sabir          9116 Warriors Mark Drive         Franktown        $1,399,000    4     3             39
9123604      A SFR      Jim Loveridge        1173 Williams Loop               Elizabeth          $680,000    5     3             55
7961136      A SFR      Lily Lopez           1810 Youngfield Court Unit# A    Golden             $590,000    3     2             60
3351263      A FNR      Ernie Duran          8648 Lake Davis Road             Pueblo             $899,000    0     2             67
6357680      A SFR      Jim Loveridge        6017 Merchant Place              Parker           $1,375,000    5     7             67
5581853      A CON      Jamik Sabir          15390 E Arizona Avenue Unit# 104 Aurora             $189,900    1     1             68
9999697      A SFR      Jim Loveridge        13577 W Alaska Drive             Lakewood           $849,000    6     4             74
9194472      A SFR      Gabriela Sandoval    7547 E 159th Place               Thornton           $600,000    5     3             74
7669540      A CON      Trevor Okamoto       8200 E 8th Avenue Unit# 7103     Denver             $350,000    2     2             53
8453199      A SFR      Rupjot Nagra         7916 S Grand Baker Way           Aurora             $959,000    5     5             70
9964944      A DUP      Ernie Duran          360 S Bryant Street              Denver             $619,999    2     2             81
2901999      A SFR      Jay McBeth           26722 E Peakview Place           Aurora             $825,000    4     3             76
4008526      A CON      Natalie Austin       19049 E Warren Drive Unit# 104   Aurora             $299,999    2     1             74
2858925      A SFR      Kathryn Joyce Bartic 4619 Shoshone Street             Denver             $970,000    4     4             68
3144960      A SFR      Tanya Lopez-Portillo 1751 Aquamarine Drive            Brighton           $565,000    5     3             83
3506860      A CON      Jacqueline Vazquez 14341 E Tennessee Avenue Unit# 30Aurora               $288,000    2     2             96
3008464      A TWH      Jim Loveridge        3685 S Granby Way                Aurora             $299,900    3     2             99
3225614      A CON      Kevin Bird           471 S Kalispell Way Unit# 107    Aurora             $280,000    2     2            107
2429250      A TWH      Jyll Overton         2490 S Worchester Court Unit# E Aurora              $365,000    3     2             67
1911199      A SFR      Jim Loveridge        2094 Fulton Street               Aurora             $490,000    3     1            102
5362243      A SFR      Natalie Austin       13031 S Bonney Street            Parker             $554,995    4     4             65
3658428      A TWH      Jim Loveridge        14324 E Hawaii Circle Unit# E    Aurora             $277,400    2     1            123
4936501      A TWH      Tanya Lopez-Portillo 4348 W 118th Place               Westminster        $630,000    3     4            104
4738502      A TWH      Jim Loveridge        11273 Osage Circle Unit# E       Northglenn         $459,000    2     3            132
4463417      A SFR      Jim Loveridge        8500 Golden Eye Drive            Parker             $549,900    4     4             76
2315691      A ULN      Chris Kienke         0 S Turkey Creek Road            Morrison           $300,000                       139
3260891      A ULN      Deja Hawkins         7111 County Road 43              Bailey             $185,000                       140
9183124      A DUP      Ernie Duran          395 S Canosa Court Unit# A & B   Denver             $588,999    4    2             131
2808998      A SFR      Ernie Duran          395 S Canosa Court Unit# A & B   Denver             $588,999    4    2             107
8819642      A SFR      Ernie Duran          4805 Pearcrest Court             Pueblo             $464,900    4    3             165
6378722      A TWH      Jacqueline Vazquez 16077 E Elk Place                  Denver             $430,000    3    3             168
4328613      A ULN      John Taylor          14336 Wamblee Trail              Conifer            $115,000                       182
3715982      A CON      James Berkley        925 N Lincoln Street Unit# 8E-S  Denver             $372,500    1    1             187
3839123      A DUP      Ernie Duran          56 S Harlan Street           Exhibit to Schedule G $799,000
                                                                              Lakewood                       4    2             190
                                                                             Page 1 of 2
Listing ID   St SType
                               Case:24-16853-TBM Doc#:25 Filed:11/27/24
                        List Agent Full Name Address           City
                                                                                         Entered:11/27/24
                                                                                                  Price Bd
                                                                                                           15:32:39   Page2 of 2
                                                                                                             Bth Days In MLS
6442130      A SFR      Sydni Taylor         6751 S Clarkson Street         Centennial          $640,000   5   3       198
6600013      A ULN      Trevor Okamoto       1756 Eiger Road                Livermore            $99,900               223
4855056      A CON      Kathryn Joyce Bartic 2193 Arapahoe Street Unit# 5   Denver              $300,000   1   1       262
4563153      A MLF      James Button         635 Stonebridge Drive          Longmont            $469,000   3   3       273




                                                                        Exhibit to Schedule G
                                                                             Page 2 of 2
